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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                          ABINGDON DIVISION


  UNITED STATES OF AMERICA                       )
                                                 )
                                                 )      Case No. 1:17CR00027
                                                 )
  v.                                             )         MEMORANDUM
                                                 )
  JOEL A. SMITHERS,                              )      By: James P. Jones
                                                 )      United States District Judge
                                                 )
                   Defendant.                    )


        In this criminal case, the defendant’s counsel moved to withdraw as attorney

  on multiple occasions.     I denied these motions orally.      This Memorandum

  elaborates on the reasons for my decisions.

        Defendant Smithers, a physician, was arrested on August 15, 2017, on a

  Criminal Complaint charging him with possession with intent to illegally distribute

  controlled substances.   He appeared before a magistrate judge represented by an

  assistant federal public defender and was released on an unsecured bond and

  conditions of release. On August 30, 2017, retained counsel entered an appearance

  and on September 12, 2017, Smithers was indicted with one count of possessing

  with the intent to distribute controlled substances. Trial was set beyond the Speedy

  Trial Act’s permissible date at the request of the defendant for March 19 through

  29, 2018. The government obtained a Superseding Indictment on December 18,
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  2017, which added one count of maintaining a place for the purpose of unlawfully

  distributing controlled substances and 714 counts of distributing controlled

  substances without a legitimate medical purpose and beyond the bounds of medical

  practice.   Smithers’ retained counsel moved for a continuance based on the

  additional charges, which was granted and a new trial date set for October 29

  through November 21, 2018.

        On March 26, 2018, Smithers’ retained counsel moved for leave to withdraw

  based on the defendant’s inability to continue to pay his fee. Mot. to Withdraw,

  ECF No. 45. The motion was granted by the magistrate judge, and Smithers was

  given time to either obtain new retained counsel or make application for an

  appointed attorney.   Smithers thereafter advised the court that he had retained

  counsel, but at a status conference with the magistrate judge on May 17, no

  appearance having been filed by retained counsel, the court appointed the federal

  public defender. Shortly thereafter, the federal public defender moved to withdraw

  on the ground of a conflict of interest, and on May 22, 2018, the court appointed a

  new attorney, Donald M. Williams, Jr., an experienced member of the court’s

  Criminal Justice Act appointment panel, who thereafter has represented Smithers.

        On August 28, 2018, counsel for Smithers filed a motion to continue the

  October 29–November 21 trial date, based in part on the fact that Smithers was

  living in North Carolina and working several jobs and thus had been difficult for


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  him to travel to Virginia to review the government’s discovery material. The

  magistrate judge granted the motion, and reset the trial for April 29, 2019, through

  May 31, 2019.

        On September 27, 2018, the government obtained a Second Superseding

  Indictment, which added an allegation that two of Smithers’ prescriptions caused

  the death of a patient.

         After an eight-day trial, the jury returned its verdict on May 9, 2019,

  convicting Smithers of all charges and finding that the use of the controlled

  substances at issue resulted in the death of the patient.

        Ten days before the start of trial, on April 19, 2019, defense counsel

  Williams filed a Motion to Withdraw as Attorney. Smithers submitted a pro se

  affidavit with the motion. In the affidavit, Smithers asserted that his counsel was

  unprepared to defend his case because counsel has limited staff and resources, has

  had a large caseload since being assigned to represent him, has never defended a

  case like this one, and has not reviewed all discovery materials or interviewed the

  government’s witnesses. Smithers also stated that he had been unable to review all

  the discovery materials. The government opposed the motion to withdraw. After a

  hearing, the magistrate judge found that although Smithers asserted that he was not

  prepared for trial, his counsel had not made any representation to the court that he

  was unprepared. The magistrate judge also noted that Smithers and his counsel


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  have had access to the government’s disclosures since June 2018 and the court had

  approved placement of these materials at a secure location near Smithers’

  residence in an attempt to facilitate his review of them.            Accordingly, the

  magistrate judge found no reason to believe that counsel’s preparation had been

  negatively impacted by anything other than the defendant’s failure to assist in trial

  preparation and denied the motion to withdraw. Thereafter, counsel filed a Motion

  for Reconsideration of the magistrate judge’s order, which I took up and denied

  orally on the first day of trial.

         Before proceedings began on the third day of trial, Smithers submitted a

  letter to the court. Letter, ECF No. 171. In the letter, Smithers stated that his

  attorney was uninformed about his case, and as a result, he did not trust his

  attorney to decide whether he should testify or prepare him to testify. Smithers

  asserted that under these circumstances, his Sixth Amendment rights were being

  violated. Based on the defendant’s letter, attorney Williams made an oral motion

  to withdraw, which I denied.

         At the beginning of the fourth day of trial, Smithers submitted another letter

  to the court. In the letter, Smithers stated that he continues to distrust his attorney,

  and that during the prior day’s proceedings, his attorney had slapped him on the

  arm and told him that he would “knock [him] out” if he continued to request that

  counsel object to the government’s evidence when counsel felt that objections were


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  unwarranted. He also stated that counsel’s representation to the court that he was

  prepared to defend the case was false, and he has irreconcilable differences with

  his attorney. I held a hearing based on these circumstances. Smithers’ counsel

  candidly admitted that he had momentarily lost his temper with Smithers, after

  Smithers continued to distract him during testimony with comments and

  suggestions. He apologized. I determined that this aberrant lapse in temper by

  defense counsel had not so infected the relationship that the case could not

  continue with present counsel.     After having observed Smthers’ conduct during

  the course of the case, it was apparent to me that he had a drastically unrealistic

  view of the strength of the government’s case and his chances of prevailing. I

  believed that defense counsel was doing the best job possible under the

  circumstances of case and the difficulties presented by his client.

         It is within the court’s discretion to remove counsel in a criminal case.

  United States v. Blackledge, 751 F.3d 188, 193 (4th Cir. 2014).       In excising that

  discretion, the court should consider the timeliness of the motion, the adequacy of

  the court’s inquiry into the factual basis of the defendant’s dissatisfaction, and

  whether the conflict was “so great that it had resulted in total lack of

  communication preventing an adequate defense.” Id. at 194 (internal quotation

  marks and citation omitted).




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         After hearing argument ex parte from Smithers’ counsel on the Motion for

  Reconsideration of the magistrate judge’s order denying his first Motion to

  Withdraw as Attorney, I found that the magistrate judge’s decision was not clearly

  erroneous. However, out of an abundance of care, I considered de novo the

  question of whether to terminate defense counsel and appoint new counsel for

  Smithers. First, this case had been pending for nearly two years, and there is an

  important public interest in avoiding further delay. Likewise, it was in Smithers’

  interest to resolve the charges pending against him. Moreover, Smithers’ counsel

  has been appointed for approximately 11 months, and trial has already been

  continued once to allow him further time to prepare.         Further, based on the

  magistrate judge’s findings and counsel’s representations before me in court, I

  found that counsel was adequately prepared for trial. Smithers could point to no

  specific deficiency in his counsel’s representation of him, and counsel stated that

  based on his experience as a criminal defense attorney, he had properly prepared

  for trial.   Although there have been disagreements between Smithers and his

  counsel regarding trial tactics and procedures, this is not uncommon in criminal

  cases, and I found that the relationship between Smithers and his counsel was not

  irrevocably broken. Accordingly, I declined to terminate Smithers’ counsel.

         With respect to counsel’s second Motion to Withdraw as Attorney and in

  response to Smithers’ two letters to the court, I first found, as I found when ruling


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  on the Motion for Reconsideration, defense counsel was adequately prepared to

  defend this case. Counsel represented that he has reviewed all relevant portions of

  the record, and it was clear that he had been effectively cross-examining witnesses

  and consulting with Smithers throughout the trial. Moreover, although counsel

  must consult with Smithers regarding his decision to testify, Smithers “has the

  ultimate authority to determine whether to . . . testify.” Florida v. Nixon, 543 U.S.

  175, 187 (2004) (internal quotation marks and citations omitted). Lastly, I found

  that although Smithers and his counsel continued to have disagreements regarding

  trial tactics, it did not appear that there had been any lack of communication

  between them that prevented an adequate defense.          Smithers and his counsel

  appeared to communicate frequently during the government’s presentation of

  evidence and counsel’s cross examination of witnesses.

                                                 DATED: September 12, 2019

                                                 /s/ James P. Jones
                                                 United States District Judge




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